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RECORDING INDUSTRY

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VIA EMAIL TO LEGAL@CLOUDFLARE.COM

October 23, 2019

tin Pai

Justin Paine Case: 1:19—me—00181

Cloudflare, Inc. . . .

1O1T ds Assigned To : Unassigned
ownsend street Assign. Date : 10/23/2019

Legal Department Description: MISC.

San Francisco, CA 94107

Dear Mr. Paine:

I am contacting you on behalf of the Recording Industry Association of America, Inc.
(RIAA) and its member record companies. The RIAA is a trade association whose
member companies create, manufacture and distribute approximately eighty-five (85)
percent of all legitimate sound recordings sold in the United States.

We have determined that users of your system or network have infringed our member
record companies’ copyrighted sound recordings.

Enclosed is a subpoena compliant with the Digital Millennium Copyright Act. The
subpoena requires that you provide the RIAA with information concerning the individuals
offering infringing material described in the attached notice.

As is stated in the attached subpoena, you are required to disclose to the RIAA
information sufficient to identify the infringers. This would include the individuals’
names, physical addresses, IP addresses, telephone numbers, e-mail addresses, payment
information, account updates and account history.

If you have any questions please feel free to contact me via email at antipiracy@riaa.com,
via telephone at (202) 775-0101, or via mail at RIAA, 1025 F Street N.W., 10th Floor,
Washington, D.C., 20004.

Sincerely,
Jo De SS RECEIVED
Victoria Sheckler OCT 23 2019

Deputy General Counsel
Clerk, U.S. District and

nkruntey ©:
RECORDING INDUSTRY ASSOCIATION OF AMERICA Ba

1025 F STREET, NW, 10TH FLOOR, WASHINGTON, DC 20004
PHONE: 202,775.0101 FAX: 202.775.7253 WEB: www.riaa.com
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UNITED STATES DISTRICT COURT
DISTRICT OF COLUMBIA

Case: 1:19-me—00181
Assigned To : Unassigned

In Re: ) Assign. Date : 10/23/2019
) Description: MISC.

DMCA 512(h) SUBPOENA TO )

CLOUDFLARE, INC. )
) DECLARATION OF MARK McDEVITT
)
) IN SUPPORT OF ISSUANCE OF
) SUBPOENA PURSUANT TO 17 U.S.C §
) 512(h)

 

I, MARK McDEVITT, the undersigned, declare that:

1. I am a Senior Vice President, Online Content Protection for the Recording Industry
Association of America, Inc. (RIAA). The RIAA is a trade association whose member
companies create, manufacture or distribute sound recordings. The RIAA is authorized to act on
its member companies’ behalf on matters involving the infringement of their copyrighted video
and sound recordings.

Z The RIAA is requesting the attached proposed subpoena that would order Cloudflare, Inc.
to disclose the identities, including names, physical addresses, IP addresses, telephone numbers,
e-mail addresses, payment information, account updates and account histories of the users
operating the following websites:

https://wi.to/O09dadcedOfl1 17906

https://wi.to/dba6d1 feabc8dd0f

https://wi.to/6al 9aa8eab08b482

3. The purpose for which this subpoena is sought is to obtain the identities of the individuals
assigned to these websites who have reproduced and have offered for distribution our members’
copyrighted sound recordings without their authorization. This information will only be used for
the purposes of protecting the rights granted to our members, the sound recording copyright
owner, under Title II of the Digital Millennium Copyright Act.
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I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct to the best of my knowledge, information or belief.

Executed at Washington, District of Columbia, on October 23, 2019.

fi fob

Mark McDevitt

 
